Case 3:13-mj-00503-BH Document 9 Filed 08/20/13_ Page 1 of 1 PagelD 34

AO 442 (Rev. 12/10) Warrant for Arrest U.S. DISTRICT COURT
FILED
United States District Court} ,
WG 20 2013
NORTHERN DISTRICT OF LTEXAS
CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA "Fan SHEIZ
V. - WARRANT FOR ARREST
SANDY JENKINS CASE NUMBER: 3-13-MJ-5OQ)% -BY

To: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest SANDY JENKINS
and bring him or her forthwith to the nearest magistrate to answer a(n)

Indictment Information | yj Complaint Order of Violation Probation Violation
court Notice Petition

charging him or her with (brief description of offense)

Mail Fraud

in violation of Title 18, United States Code, Section (s) 1341

Irma Carrillo Ramirez United States Magistrate Judge
Name of Jssuing Officer Title of Issuing Officer

Signature of Issuing Officer ayy Date and Location

Bail fixed at $ by

Name of Judicial Office

RETURN

This warrant was received and executed with the arrest of the above named defendant at
[ABP _W 2** MENVE | CoRSICANA, De ISD

DATE RECEIVED | NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER
S/ia/2a3 | FBI SPERM AGENT, Opes Obren)
° Ne ae ¥
DATE OF ARREST CHEST INE ER IoW

ES (R/ADS
